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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 15-24585-CIV-UNGARO/O’SULLIVAN


  UNITED STATES OF AMERICA,
  ex rel. BRUCE JACOBS,

         Plaintiff,

  v.

  BANK OF AMERICA CORPORATION,
  et al.,

         Defendants.

  ______________________________/

                            REPORT AND RECOMMENDATION

         THIS MATTER came before the Court on the Motion for Order Authorizing

  Disbursement of Settlement Funds Held in Escrow and Determination of Entitlement to

  Fees, with Incorporated Memorandum of Law (DE# 331, 7/11/18) filed by Bruce Jacobs

  (hereinafter “Relator”). This matter was referred to the undersigned pursuant to 28

  U.S.C. § 636(b) for a report and recommendation. See Order of Referral to Magistrate

  Judge O'Sullivan for All Pretrial Proceedings (DE# 336, 7/11/18). Having reviewed the

  applicable filings and the law, the undersigned respectfully RECOMMENDS that the

  Motion for Order Authorizing Disbursement of Settlement Funds Held in Escrow and

  Determination of Entitlement to Fees, with Incorporated Memorandum of Law (DE#

  331, 7/11/18) be DENIED without prejudice and that the case be STAYED pending

  arbitration in California for the reasons stated herein.
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                                       BACKGROUND1

         On July 11, 2018, the Relator filed the instant motion. See Motion for Order

  Authorizing Disbursement of Settlement Funds Held in Escrow and Determination of

  Entitlement to Fees, with Incorporated Memorandum of Law (DE# 331, 7/11/18)

  (“Relator’s Motion”). On July 27, 2018, Robert Kohn and the Kohn Law Group, Inc.

  (collectively “Kohn”) filed a response in opposition to the Relator’s Motion. See

  Response by Non-parties Robert E. Kohn and Kohn Law Group, Inc. in Opposition to

  “Motion for Order Authorizing Disbursement of Settlement Funds Held in Escrow and

  Determination of Entitlement to Fees, with Incorporated Memorandum of Law” (D.E.

  331), and Declaration of Robert E. Kohn, with Incorporated Memorandum of Law (DE#

  339, 7/27/18) (hereinafter “Kohn’s Response”). The Relator filed a reply on August 17,

  2018. See Reply in Support of Motion for Order Authorizing Disbursement of Settlement

  Funds Held in Escrow and Determination of Entitlement to Fees, with Incorporated

  Memorandum of Law (DE# 345, 8/17/18) (hereinafter “Relator’s Reply”).

         In the interim, on August 7, 2018, the United States District Court for the Central

  District of California (hereinafter “California District Court”) issued a Minute Order Lifting

  Stay and Granting Petitioner’s Motion to Compel Arbitration (DOC. NO. 9) (DE# 341-1,



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            Some of the parties’ filings contain multiple page numbers. For clarity and
  consistency, the undersigned will cite to the page numbers automatically assigned by
  the Court’s CM/ECF system appearing at the top right-hand corner of each page.
  However, due to the manner in which the Respondent’s Notice of Motion and Motion for
  Reconsideration of Order Compelling Arbitration (DE# 346-1, 8/17/18) was docketed,
  the page numbers automatically assigned by the Court’s CM/ECF system are illegible.
  Accordingly, when citing to the Respondent’s Notice of Motion and Motion for
  Reconsideration of Order Compelling Arbitration (DE# 346-1, 8/17/18), the undersigned
  will cite to the page numbers appearing at the bottom, center of each page.

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  8/8/18) (hereinafter “August 7, 2018 Minute Order”). The California District Court “found

  that (1) the Agreement is both valid and encompasses this dispute, and (2) an arbitrator

  must decide whether this dispute should be stayed under the first-to-file rule.” Id. at 6. It

  therefore granted Kohn’s motion to compel arbitration. Id. In a footnote, the California

  District Court noted that it was not considering any arguments raised only in the instant

  action, United States of America ex. rel. Bruce Jacobs v. Bank of America, et al., No.

  15-CV-24585-UU. Id. at 5 n.4. The undersigned took judicial notice of the August 7,

  2018 Minute Order. See Order (DE# 348 at 4-5, 8/21/18).

         On August 17, 2018, the Relator filed a motion for reconsideration of the August

  7, 2018 Minute Order with the California District Court. See Respondent’s Notice of

  Motion and Motion for Reconsideration of Order Compelling Arbitration (DE# 346-1,

  8/17/18). One of the arguments raised by the Relator2 was that “the [California District]

  Court improvidently resolved the merits of arbitrability without receiving the

  respondents’ arguments on the merits.” Id. at 11.

         On August 22, 2018, the California District Court denied the Relator’s motion for

  reconsideration. See Minute Order (1) Denying Petitioner's Request to Strike, (Doc. No.

  53); (2) Denying Respondents' Motion for Reconsideration, (Doc. 51); and (3) Vacating

  the Hearing on Respondents' Motion for Reconsideration (in Chambers) (hereinafter

  “August 22, 2018 Minute Order”) (DE# 349-1, 8/24/18). Specifically, the California

  District Court found that reconsideration of the August 7, 2018 Minute Order was not


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           The Respondent’s Notice of Motion and Motion for Reconsideration of Order
  Compelling Arbitration (DE# 346-1, 8/17/18) was filed by the Relator, The LS Law Firm
  and Lilly Ann Sanchez. For ease of reference, the undersigned will refer to the motion
  for reconsideration as being filed by the Relator.

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  warranted:

          Respondents make no arguments that reconsideration is appropriate
          under the above enumerated grounds. Instead, they argue that it was
          error for the Court to grant the petition to compel without a hearing and
          attempt to relitigate the motion to compel arbitration, advancing
          arguments that they failed to make earlier in opposition. . . . Neither of
          these arguments provide a ground for relief under Local Rule 7-18, nor
          under Federal Rule of Civil Procedure 60(b), the federal analog to the
          local rule.

   August 22, 2018 Minute Order at 3. The California District Court also rejected the

  argument that the Relator had been denied the opportunity to present arguments on the

  merits to the Court:

          Further, the Court notes that it did not deny Respondents the opportunity
          to respond to Petitioner's motion by issuing its August [7, 2018 Minute]
          Order. Rather, Petitioner's motion to compel, (Doc. No. 9), had been fully
          briefed when the Court stayed the action and its decision on that motion.
          (See Doc. No. 31.) When the Court lifted the stay, it thus properly ruled on
          the pending motion to compel. Moreover, as noted in the August [7, 2018
          Minute] Order, although Respondents had failed to file a timely opposition
          to either the motion to compel or Petitioner's later-filed motion to lift stay
          and compel arbitration, the Court nevertheless considered their late-filed
          oppositions. (See Doc. No. 49 at 2 n. 3.) In other words, not only had
          Respondents been provided with the opportunity to oppose Petitioner's
          motion to compel twice, but the Court in fact considered their oppositions
          despite Local Rule 7-12 which permits it to decline to consider any
          document not filed within the deadline. Respondents are not entitled to a
          third stab at opposing Petitioner's motion to compel simply because they
          recognize the paucity of their earlier-advanced arguments.

  Id. at 3 (italics in original).

          The undersigned took judicial notice of the August 7, 2018 Minute Order. See

  Order (DE# 351, 8/28/18). This matter is ripe for adjudication.




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                                         ANALYSIS

  1.    Relator’s Motion

        “On January 12, 2018, the Relator and Kohn signed an agreement that

  $1,035,000 would remain in the LS Law Firm PA IOTA account pending further order

  of a court of law or other tribunal.” Relator’s Motion (DE# 331 at 5). The Relator now

  seeks an Order authorizing the release of these funds on the grounds that Kohn “did

  not file a charging lien prior to the dismissal of the underlying action and he

  otherwise forfeited his entitlement to any fees by voluntarily withdrawing from the case

  as counsel of record.” Id. (emphasis added).

        At this juncture, the undersigned finds no grounds for the release of the funds in

  the LS Law Firm PA IOTA account. There is no provision in the January 12, 2018

  agreement that required Kohn to perfect a charging lien as a condition for holding the

  funds in escrow. The agreement between the parties states in pertinent part:

        RELATOR and RELATOR'S COUNSEL agree that $1,035,000 will remain
        in the LS IOTA Trust Account pending further agreement of BRUCE
        JACOBS, THE LS LAW FIRM and KOHN in writing, or order of a court of
        law or other tribunal.

  Authorization and Agreement to Transfer, Maintain and Disburse Funds (DE# 282 at

  35, 1/17/18) (hereinafter “Agreement”). At present, there is no agreement between the

  parties for the release of these funds as evidenced by Kohn’s objection to the Relator’s

  Motion (DE# 331) and the Relator has not yet obtained an Order issued by a court or

  other tribunal. Thus, none of the conditions provided in the Agreement are met.

        Moreover, Kohn’s failure to perfect a charging lien is not grounds for the release

  of the funds at issue. The instant action was dismissed on January 5, 2018 when the


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  Court issued an Order on Joint Stipulation of Dismissal (DE# 277, 1/5/18). The parties

  entered into their Agreement on January 12, 2018, after the case had already been

  dismissed. See Relator’s Motion at 2 (stating “[o]n January 12, 2018, the Relator and

  Kohn signed an agreement that $1,035,000 would remain in the LS Law Firm PA IOTA

  account pending further order of a court of law or other tribunal.”). “To perfect a

  charging lien, the attorney must ‘either file a notice of lien or otherwise pursue the lien in

  the original action’ before the case is dismissed.” Greenberg Traurig, P.A. v. Starling,

  238 So. 3d 862, 865 (Fla. 2d DCA 2018), reh'g denied (Mar. 6, 2018) (quoting Daniel

  Mones, P.A. v. Smith, 486 So.2d 559, 561 (Fla. 1986)). Thus, at the time the parties

  entered into the January 12, 2018 Agreement, the Relator knew or should have known

  that Kohn had not perfected a charging lien. The undersigned fails to see how Kohn’s

  failure to perfect a charging lien is grounds for the release of the funds the parties

  agreed to hold in escrow.

         With respect to the argument that Kohn has forfeited his entitlement to any fees

  by voluntarily withdrawing from the case as counsel of record, the undersigned notes

  that the California District Court has already determined that the dispute at issue, which

  it defined as “the attorneys’ fee dispute between Petitioner and Respondents arising

  from the BOA case,” fell within the parties’ arbitration agreement. See August 7, 2018

  Minute Order at 5 (stating that “[s]ince this dispute directly relates to the engagement

  of Robert E. Kohn, the principal of Petitioner, it falls within the gambit of this

  provision.”).

         In sum, the undersigned finds no basis for the release of the escrow funds at this

  juncture.

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  2.     The Court Should Enter a Stay of the Proceedings Pursuant to Section 3 of
         the Arbitration Act

         The Relator maintains that “the only issue for this Court is whether Kohn’s

  withdrawal was voluntary.” Reply at 2. The Relator further argues that “[w]hether a

  withdrawal is voluntary is not a valid subject for arbitration.” Id. However, as noted

  above, the California District Court already determined that “the attorneys’ fee dispute

  between Petitioner and Respondents arising from the BOA case,” fell within the parties'

  arbitration agreement “[s]ince this dispute directly relates to the engagement of Robert

  E. Kohn, the principal of Petitioner . . . .” See August 7, 2018 Minute Order at 5.

         In the Response, Kohn argues that “the Motion should be dismissed, or else

  stayed under § 3 of the FAA.” Kohn’s Response at 21. Section 3 of the Federal

  Arbitration Act states as follows:

         If any suit or proceeding be brought in any of the courts of the United
         States upon any issue referable to arbitration under an agreement in
         writing for such arbitration, the court in which such suit is pending, upon
         being satisfied that the issue involved in such suit or proceeding is
         referable to arbitration under such an agreement, shall on application of
         one of the parties stay the trial of the action until such arbitration has been
         had in accordance with the terms of the agreement, providing the
         applicant for the stay is not in default in proceeding with such arbitration.

  9 U.S.C. § 3. Here, the California District Court has already determined that the parties’

  fee dispute is subject to arbitration. See discussion, supra.

         Kohn argues that “the California [District C]ourt’s rulings are preclusive in

  establishing the arbitrability of the attorneys’ fee dispute between KLG and the

  Respondents in California arising from this case here in Florida.” See Second Request

  for Judicial Notice by Non-Parties Robert E. Kohn and Kohn Law Group, Inc. in Support

  of Response [339] to “Motion for Order Authorizing Disbursement of Settlement Funds

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  Held in Escrow and Determination of Entitlement to Fees, with Incorporated

  Memorandum of Law” [331] (DE# 350 at 3, 8/24/18). In response to a motion filed by

  Kohn, the Relator argued that the August 7, 2018 “[M]inute [O]rder [wa]s not a final

  order on the question of arbitrability.” Response to Motion by Non-parties Robert E.

  Kohn and Kohn Law Group, Inc. to Vacate the Scheduled Magistrate Judge Hearing on

  August 27, 2018, with Incorporated Memorandum of Law (DE# 346 at 5, 8/17/18).

          “[W]hether to allow issue preclusion is within the sound discretion of the trial

  court.” In re Bush, 62 F.3d 1319, 1325 n.8 (11th Cir. 1995) (citing Parklane Hosiery

  Company, Inc. v. Shore, 439 U.S. 322, 331 (1979)). “[I]ssue preclusion ‘bars successive

  litigation of an issue of fact or law actually litigated and resolved in a valid court

  determination essential to the prior judgment, even if the issue recurs in the context of a

  different claim.’” Andreu v. HP Inc., 272 F. Supp. 3d 1329, 1331 (S.D. Fla. 2017)

  (quoting Taylor v. Sturgell, 553 U.S. 880, 892 (2008)). The following three elements

  must be present: (1) the identical issue has been fully litigated, (2) by the same parties

  and (3) a final decision has been rendered by a court of competent jurisdiction. See

  Cmty. Bank of Homestead v. Torcise, 162 F.3d 1084, 1086 (11th Cir. 1998) (citing

  Essenson v. Polo Club Assocs., 688 So. 2d 981, 983 (Fla. 2d DCA 1997)).

         The parties in the instant case are identical to the parties in the California District

  Court. The California District Court has already found that the arbitration agreement is

  valid and that the parties’ fee dispute is subject to arbitration. See August 7, 2018

  Minute Order at 6. Although the Relator did not raise all of the arguments raised in the

  instant proceedings in the case filed in the California District Court, it was not precluded

  from doing so. As noted in the August 22, 2018 Minute Order denying the Relator’s

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  motion for reconsideration:

         not only had Respondents been provided with the opportunity to oppose
         Petitioner's motion to compel twice, but the Court in fact considered their
         oppositions despite Local Rule 7-12 which permits it to decline to consider
         any document not filed within the deadline. Respondents are not entitled
         to a third stab at opposing Petitioner's motion to compel simply because
         they recognize the paucity of their earlier-advanced arguments.

  August 22, 2018 Minute Order at 3 (italics in original). Lastly, the undersigned

  concludes that the California District Court issued a final order when it granted Kohn’s

  motion to compel arbitration. See August 7, 2018 Minute Order. “A decision is final

  when it ‘ends the litigation on the merits and leaves nothing for the court to do but

  execute the judgment.’” Hyan v. Hummer, 825 F.3d 1043, 1046 (9th Cir. 2016) (quoting

  SEC v. Capital Consultants LLC, 453 F.3d 1166, 1170 (9th Cir. 2006)).

         Pursuant to section 3 of the Federal Arbitration Act, this Court should enter an

  Order STAYING this matter pending the arbitration in California.

                                    RECOMMENDATION

         For the foregoing reasons, the undersigned RECOMMENDS that: (1) the Court

  STAY this matter until the conclusion of the arbitration proceeding and (2) the Motion

  for Order Authorizing Disbursement of Settlement Funds Held in Escrow and

  Determination of Entitlement to Fees, with Incorporated Memorandum of Law (DE#

  331, 7/11/18) be DENIED without prejudice.

         The parties shall have fourteen (14) days from the date of being served with a

  copy of this Report and Recommendation within which to file written objections, if any,

  with the Honorable Ursula Ungaro, United States District Judge. Failure to file

  objections timely shall bar the parties from a de novo determination by the District


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   Judge of an issue covered in the Report and shall bar the parties from attacking on

   appeal unobjected-to factual and legal conclusions contained in this Report except

   upon grounds of plain error if necessary in the interest of justice. See 28 U.S.C. §

   636(b)(1); Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson, 885 F.2d 790,

   794 (1989); 11th Cir. R. 3-1 (2016).

           RESPECTFULLY SUBMITTED at the United States Courthouse, Miami, Florida

   this 28th day of August, 2018.


                                            JOHN J. O’SULLIVAN
                                            UNITED STATES MAGISTRATE JUDGE
   Copies provided to:
   United States District Judge Ungaro
   All counsel of record




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